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                                COURTROOM MINUTE SHEET
                               RESENTENCING PROCEEDINGS

Date 4-11-17                                    Case No.   4:13-CR-00375-ERW-8
UNITED STATES OF AMERICA vs.              Ismael Miranda-Zarco


Judge Honorable E. Richard Webber   Deputy Clerk E. Brown   Court Reporter       R. Fiorino
Interpreter                                   Probation Officer S. Davis

Assistant U.S. Attorney   Jeannette Graviss
Defendant Attorney(s)     Joseph Hogan


9
✔ Defendant/Parties present for imposition of resentencing
✔
9 Presentence Report adopted/accepted by Court as findings of fact ✔9 PSR filed under seal
9 Government’s Motion is 9 granted 9 denied
✔
9 No Objections to Presentence report filed by either party.
9 Objections to Presentence report filed by 9 defendant 9 government.
9 Objections to Presentence report heard and 9 granted as follows: 9 denied as follows:



✔
9 Sentence imposed (see judgment)
9 Count(s) 3, 4, and 5
✔                        dismissed on motion of AUSA
9 The Court makes the following recommendations to the Bureau of Prisons:



9
✔ Defendant remanded to custody of the USMS
9 Defendant granted a voluntary surrender to the institution/USMS for incarceration as
notified by USMS       9 Surrender date
9 Defendant is released on Probation pending processing by USMS
9 Certificate of Compliance with Local Rule 12.07(A) provided to defendant’s attorney.
✔
9 Witness testimony (see witness list)
9 Exhibits returned to and retained by counsel (see exhibit list)
9 Letters received on behalf of defendant received and reviewed by the Court, and to be made
  part of the record and )iled Under Seal.
9


Proceedings commenced      11:04    a   .m. Concluded     11:37    a.m.
